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 4   Jeffry A. Davis (SBN 103299)
     Joseph R. Dunn (SBN 238069)
 5   MINTZ LEVIN COHN FERRIS GLOVSKY AND POPEO P.C.
     3580 Carmel Mountain Road, Suite 300
 6   San Diego, CA 92130
     Tel: 858-314-1500
 7   Fax: 858-314-1501
 8   Special Counsel for Trustee
     Leslie T. Gladstone,
 9

10                               UNITED STATES BANKRUPTCY COURT
11                                       Southern District of California
12   In re                                                Case No. 07-04977-PB7
13   CREATIVE CAPITAL LEASING GROUP,                      Chapter 7
     LLC,
14                                                        EMERGENCY APPLICATION FOR
                            Debtor.                       EXTENSION OF STATUTE OF
15                                                        LIMITATIONS DEADLINE FOR
                                                          AVOIDANCE ACTIONS; MEMORANDUM
16                                                        OF POINTS AND AUTHORITIES IN
                                                          SUPPORT THEREOF
17
                                                          [No hearing required]
18
                                                          Dept:            4
19                                                        Judge:           Peter W. Bowie
20

21           Leslie T. Gladstone, duly appointment chapter 7 trustee (“Trustee”) in the above-captioned
22   matter, hereby moves the Court, on an emergency basis, for entry of an order to extend the time to
23   file avoidance actions in this case pursuant to 11 U.S.C. §§ 544 through 553.
24           In support of her motion, the Trustee hereby alleges as follows:
25           1.     This case was commenced as a voluntary chapter 11 case on September 12, 2007
26   (“Petition Date”).
27           2.     On or about October 10, 2008 (“Conversion Date”), the Debtor’s chapter 11 case was
28   converted to a case under chapter 7 and Leslie T. Gladstone was appointed as chapter 7 trustee.
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 1           3.     On January 23, 2009, the Trustee retained Corporate Recovery Associates as financial

 2   consultant.

 3           4.     On May 8, 2009, the Trustee retained Gordon & Rees as general bankruptcy counsel.

 4           5.     Based upon the efforts of the Trustee’s financial advisor and general bankruptcy

 5   counsel, it was determined that an in-depth investigation of the Debtor’s financial affairs needed to

 6   be conducted and potential avoidance actions examined.

 7           6.     On August 10, 2009, the Trustee retained the law firm of Mintz Levin Cohn Ferris

 8   Glovsky and Popeo, P.C. (“Mintz Levin”) to serve as special avoidance counsel to work with the

 9   Trustee’s financial advisor to obtain financial documents and to determine which, if any, avoidance

10   actions should be filed. The Trustee’s special avoidance counsel Mintz Levin immediately sought

11   an order from this Court pursuant to the provisions of Federal Rule of Bankruptcy Procedure 2004 to

12   obtain financial information and conduct examinations of a wide-range of financial institutions and

13   individuals. In the course of its efforts, Mintz Levin has issued 31 subpoenas and conducted

14   depositions of Michael Winick, Daniel Winick and Adrian Winick. Approximately 30,000

15   documents have been produced in response to the subpoenas. These documents are in addition to

16   44 boxes of the Debtor’s financial records and additional electronic records.

17           7.     Some time after the Petition Date and before the Conversion Date, the Debtor’s

18   managing member, David Winick, permanently left the United States and is now residing in Israel.

19   David Winick has avoided the efforts of the Trustee to serve a subpoena on him for documentary

20   and testamentary evidence.

21           8.     The financial records of the Debtor are complex, yet incomplete and, to the extent

22   decipherable, show use of a number of different bank accounts with moneys being shifted amongst

23   them. Recreating the Debtor’s financial history has been difficult and time consuming, and made

24   even more so by the unavailability of David Winick to explain the Debtor’s financial dealings.

25           9.     As a result of its investigation and consultation with the Trustee, Mintz Levin has

26   identified a number of adversary proceedings that will be commenced on Friday, October 9, 2009.

27   However, despite the efforts of the Trustee and Mintz Levin, documents from certain financial

28   institutions have not yet been produced. Accordingly, despite the diligent efforts of the Trustee and
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 1   Mintz Levin, it is uncertain whether the Trustee has been able to identify all transfers of the Debtor’s

 2   assets which might give rise to a claim for avoidance pursuant to 11 U.S.C. §§ 544 through 553.

 3           WHEREFORE, the Trustee prays that this Court enter its order, on an emergency basis,

 4   extending the statute of limitations pursuant to 11 U.S.C. § 546(a) through and including February 1,

 5   2010.

 6

 7   Dated: October 9, 2009                     /s/ Jeffry A. Davis
                                                Jeffry A. Davis
 8                                              Joseph R. Dunn
                                                MINTZ LEVIN COHN FERRIS GLOVSKY AND POPEO P.C.
 9                                              Special Counsel for Trustee
                                                Leslie T. Gladstone
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11                                      POINTS AND AUTHORITIES

12           The power of the bankruptcy court to grant a prospective extension of statute of limitations

13   under 11 U.S.C. § 546(a) was recognized by the Eleventh Circuit Court of Appeals in In re

14   International Administrative Services, Inc., 408 F.3d 689 (11th Cir. 2005). In that case, the Eleventh

15   Circuit ruled that section 546(a) is a true statute of limitations and does not operate as a jurisdictional

16   bar. As explained by the court, “to read a jurisdictional bar into section 546 would lead to absurd

17   results.” Id. at 699.

18           In granting a prospective extension of statute of limitations under section 546(a), the court

19   relied upon Federal Rule of Bankruptcy Procedure 9006(b) which states:

20                 When an act is required or allowed to be done at or within a
                   specified period by these rules or by a notice given thereunder or by
21                 order of court, the court for cause may at any time in its discretion
                   . . . order the period enlarged.
22

23           While the Eleventh Circuit recognized that this provisions does not explicitly encompass

24   statutory timeframes, it held that a court’s ability to extend a deadline would include “Rule 7001,

25   which defines an adversary proceeding as one ‘to recovery money or property’ and Rule 7003 which

26   governs the commencement of adversary proceedings.” Id. Accordingly, the Eleventh Circuit

27   affirmed the bankruptcy court’s power to grant an extension of the statute of limitations under

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 1   section 546(a) for more than six months beyond the date it would have otherwise expired, including

 2   the ability to enter such an order even after the non-extended deadline.

 3           In this case, the statute of limitations, which would otherwise expire on Saturday, October

 4   10, 2009, is extended to Tuesday, October 13, 2009, as a result of the statute running on a Saturday

 5   and the Columbus Day holiday on Monday, October 12, 2009, pursuant to Rule 9006b (a). The

 6   granting of an extension of the statute of limitations to February 1, 2010 pursuant to Rule 9006(b) is

 7   warranted in this case given the diligent efforts of the Trustee and Mintz Levin, the complex and less

 8   than complete nature of the Debtor’s books and records, the flight out of the county to Israel by the

 9   Debtor’s managing member, and the evasion of the managing of efforts to serve him with a Rule

10   2004 subpoena all favor the extension requested herein.

11   Dated: October 9, 2009                    /s/ Jeffry A. Davis
                                               Jeffry A. Davis
12                                             Joseph R. Dunn
                                               MINTZ LEVIN COHN FERRIS GLOVSKY AND POPEO P.C.
13                                             Special Counsel for Trustee
                                               Leslie T. Gladstone
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